        Case:4:19-cv-07123-PJH
        Case  20-16408, 04/11/2022, ID: 12417346,
                                Document          DktEntry:
                                           159 Filed        92, Page
                                                     04/11/22    Page11ofof11

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                     April 8, 2022


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: NSO Group Technologies Limited, et al.
          v. WhatsApp Inc., et al.
          No. 21-1338
          (Your No. 20-16408)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on April
6, 2022 and placed on the docket April 8, 2022 as No. 21-1338.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Jacob A. Levitan
                                        Case Analyst
